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                                       No. 21-1210

                        In the United States Court of Appeals
                                for the Fourth Circuit

                           HELEN CASSARA and JOYCE RIGGIN,
                                Plaintiffs-Appellants,
                                           v.
          PNC BANK, N.A.; the LAW OFFICES OF WILLIAM R. PURCELL, II, PLLC;
            WILLIAM PURCELL, II (in his individual and personal capacity);
         SCOTLAND HEALTH CARE SYSTEM; SCOTLAND MEMORIAL HOSPITAL, INC.;
               CENTURY CARE MANAGEMENT, INC.; DEPAUL ADULT CARE
            COMMUNITIES, INC.; WILLIAM NEWTON; SHANNON NEWTON, ABC
                CORPORATION 1–5; and JANE DOE and JOHN DOE 1–10;
                               Defendants-Appellees.

                   On Appeal from the United States District Court
                      for the Western District of North Carolina
                Case No. 3:20-cv-00085-GCM (Hon. Graham C. Mullen)

                Appellee DePaul Adult Care Communities, Inc.’s
              Motion to Dismiss Appeal for Lack of Jurisdiction and
                      Motion to Suspend Briefing Schedule

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                                       May 3, 2021
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                          CORPORATE DISCLOSURE STATEMENT

              Pursuant to Federal Rule of Appellate Procedure 26.1 and Local

        Rule 26.1, Appellee DePaul Adult Care Communities, Inc. states that it

        is a nonprofit business corporation that is not a publicly held corporation

        or a trade association and that no publicly held corporation or similar

        legal entity holds 10% or more of its stock. Appellee’s parent corporation

        is The DePaul Group, Inc., also a nonprofit business corporation. No

        publicly held corporation or similar legal entity has a direct financial

        interest in the outcome of this litigation. This case did not arise out of a

        bankruptcy proceeding and does not involve an organizational victim of

        criminal charges.

                                     INTRODUCTION

              Pursuant to Federal Rule of Appellate Procedure 27 and Fourth

        Circuit Local Rule 27(f), Appellee DePaul Adult Care Communities, Inc.

        (“Appellee”) moves to dismiss this interlocutory appeal for lack of

        jurisdiction.   The district court repeatedly instructed Appellants to

        amend their complaint to substitute the correct party, and repeatedly

        granted Appellants’ motions to extend the time to do so. When the

        extended deadline passed without amendment or another motion for



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        extension of time from the Appellants, the district court had no choice

        but to dismiss the action without prejudice pursuant to Fed. R.

        Civ. P. 25(a)(1)—without adjudicating the merits of the underlying

        claims or the multiple pending motions to dismiss pursuant to

        Fed. R. Civ. P. 12(b)(6).

              Because Plaintiffs-Appellants could restore their action by simply

        amending their complaint with the proper party, the district court’s

        dismissal order is not an appealable final order.               28 U.S.C. § 1291;

        see Goode v. Cent. Va. Legal Aid Soc’y, Inc., 807 F.3d 619, 623

        (4th Cir. 2015).     Accordingly, Appellee respectfully submits that this

        Court cannot exercise jurisdiction and must dismiss the appeal. Appellee

        additionally moves to suspend the briefing schedule pending disposition

        of the motion to dismiss.

              Pursuant to Fourth Circuit Local Rule 27(a), Appellee has informed

        counsel for the other parties to the appeal of the intended filing of this

        motion. Counsel for Plaintiffs-Appellants opposes this motion to dismiss.

        Counsel for all other Defendant-Appellees consent to this motion to

        dismiss.




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                                         BACKGROUND

              In February 2020, Helen Cassara and Joyce Riggin (“Appellants”)

        commenced this action in the United States District Court for the

        Western District of North Carolina, filing suit against over two dozen

        named and unnamed defendants, as enumerated in the case caption.

        (Doc. No. 1).   The complaint alleges a vast conspiracy by which the

        defendants purportedly conspired to defraud Cassara of her home and

        personal property and to admit her against her will to a series of long-

        term care facilities, including the licensed adult care home operated by

        Appellee known as Prestwick Village, where Cassara resided for

        approximately one month. (See Doc. No. 1 at 2–3, 7–21). According to

        the complaint, the Defendants—including an attorney, bank, health care

        system, hospital, skilled nursing facility, adult care home, and a host of

        other unknown corporate and individual parties—engaged in an

        elaborate scheme to “take[ ] Ms. Cassara for her life’s worth” and deprive

        her of various rights under the Civil Rights Act of 1964 and a wide array

        of other federal statutes. Id.

              Separate motions to dismiss the complaint were filed by William R.

        Purcell, William Newton, and Shannon Newton (Doc. No. 12); PNC Bank,



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        N.A. (Doc. No. 23); Century Care Management, Inc. (Doc. No. 48); the

        Scotland healthcare entity parties (Doc. No. 54); and Appellee DePaul

        Adult Care Communities, Inc. (Doc. No. 58). Meanwhile, Cassara died

        shortly after the complaint was filed, and certain Defendants notified the

        district court of that development on April 7, 2020. (Doc. No. 11).

              Pursuant to Fed. R. Civ. P. 25(a)(1), this began the mandatory 90-

        day period to substitute Cassara’s successor or representative in the

        action, expiring on July 7, 2020. The district court specifically held the

        then-pending motions to dismiss in abeyance “until such time as a

        substitution of party is made by Ms. Riggin.”           (Doc. No. 31).   But

        Appellants never did so, instead merely obtaining two separate

        extensions of time to substitute the correct party. (See Doc. Nos. 31, 71,

        77; text order dated Sept. 21, 2020).

              The extended periods of time to substitute the correct party finally

        concluded on November 3, 2020, at which time Appellants had failed to

        either make the requisite substitution or seek another extension of time.

        Accordingly, the district court dismissed the complaint without prejudice

        pursuant to Fed. R. Civ. P. 25(a)(1). (Doc. No. 79). The court suggested

        that either course of action would have been sufficient but concluded that



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        it had “no choice but to dismiss this action without prejudice.” Id. at 3.

        The court specifically proceeded “upon the Court’s own motion” (id. at 1)

        and did not rule on the merits of the complaint or the Defendants’

        numerous pending motions to dismiss.

              Appellants’ subsequent Motion to Set Aside Order of Dismissal

        pursuant to Fed. R. Civ. P. 60(b) was denied.             (See Doc. No. 82).

        Appellants thereafter filed the instant appeal of the district court’s

        dismissal order. (Doc. No. 86).

                                       ARGUMENT

              This Court may exercise jurisdiction only over final orders and

        certain interlocutory and collateral orders.      28 U.S.C. §§ 1291, 1292;

        Fed. R. Civ. P. 54(b); see Cohen v. Beneficial Indus. Loan Corp.,

        337 U.S. 541, 545–46 (1949). An order dismissing a complaint without

        prejudice is not an appealable final order under § 1291 if “the plaintiff

        could save his action by merely amending his complaint.” Domino Sugar

        Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064, 1066–67

        (4th Cir. 1993). After all, “it is the province of the district court—not of

        the party seeking an appeal—to indicate that an order is final and

        appealable.” Goode, 807 F.3d at 629.



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              In this case, the district court dismissed the action without

        prejudice and specifically noted that Appellants could have avoided that

        outcome by simply amending their complaint with the requisite

        substitution of party.     (Doc. No. 79).        As such, the district court’s

        dismissal is an interlocutory order over which this Court may not exercise

        jurisdiction.

              Of course, this Court has also recognized that “[d]ismissals without

        prejudice, however, are not unambiguously non-final orders.” Bing v.

        Brivo Systems, LLC, 959 F.3d 605, 612 (4th Cir. 2020). Instead, this

        Court must examine whether the order “end[ed] the litigation on the

        merits and [left] nothing for the court to do but execute the judgment.”

        Go Computer, Inc. v. Microsoft Corp., 508 F.3d 170, 176 (4th Cir. 2007).

              The present case, however, falls far short of ending the litigation on

        the merits and is a quintessential example of a non-final judgment. The

        district court adjudicated neither the merits of the complaint nor the

        numerous pending motions to dismiss.             (See Doc. No. 79).   There is

        nothing of substance for this Court to review beyond the district court’s

        perfunctory compliance with the mandatory procedural rule of Fed. R.

        Civ. P. 25(a)(1).



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              Furthermore, when “a plaintiff declines the district court’s offer to

        amend and chooses to stand on his or her complaint,” this Court has

        treated the case “as if it had been dismissed with prejudice” and assumed

        jurisdiction over the appeal. In re GNC Corp., 789 F.3d 505, 511 n.3 (4th

        Cir. 2015).     In this case, although Appellants failed to amend their

        complaint, they clearly did not elect to stand on their complaint and face

        dismissal on that basis; instead, they simply failed to timely comply with

        the procedural deadlines established by the district court. As a result,

        the district court was confronted with a fatal procedural roadblock under

        Fed. R. Civ. P. 25(a)(1) before it even considered the merits of the case.

        Based on that disposition, this Court certainly cannot conclude that there

        is “nothing for the court to do but execute the judgment.” Go Computer,

        508 F.3d at 176.

              In summary, the dismissal without prejudice in this case indicates

        that “the plaintiff could save his action by merely amending his

        complaint.” Domino Sugar, 10 F.3d at 1066–67. The district court did

        not rule on the merits of the complaint or the Defendants’ numerous

        pending motions to dismiss.      Appellants could have, and could still,

        proceed with the action by simply adding the correct, substituted party.



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        Therefore, the district court’s dismissal is not a reviewable final order

        and this appeal is interlocutory.

                                      CONCLUSION

              Appellee respectfully moves this Court to dismiss this interlocutory

        appeal for lack of jurisdiction and suspend the briefing schedule pending

        this Court’s disposition of the motion to dismiss. The district court did

        not adjudicate the merits of the complaint and never ruled on the

        Defendants’ numerous pending motions to dismiss. Appellants could

        have proceeded with the action by simply amending the complaint to

        substitute the proper party and presumably could still do so by re-filing

        the action to name the proper party.

              Respectfully submitted this the 3rd day of May, 2021.

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                              CERTIFICATE OF COMPLIANCE

              The foregoing complies with the type-volume limitation of Federal

        Rule of Appellate Procedure Rule 27(d)(2) because it contains 1,346

        words, excluding those parts of the motion exempted by Federal Rule of

        Appellate Procedure 32(f). The motion complies with the typeface and

        type-style requirements of Federal Rule of Appellate Procedure 32(a)(5),

        (6) because it has been prepared in a proportionately spaced typeface

        using Microsoft Word 2019 in Century Schoolbook 14-point font.



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                                  CERTIFICATE OF SERVICE

              I hereby certify that on May 3, 2021, I filed the foregoing document

        through the Court’s CM/ECF system, which will serve an electronic copy

        on all registered counsel of record.



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